AO 450 (Rev. 5/85) Judgment in a Civil Case




                       United States District Court
                                       EASTERN DISTRICT OF WISCONSIN


BRIAN G. HEYER,

                               Plaintiff,
                                                           JUDGMENT IN A CIVIL CASE
                     v.                                       Case No. 19-C-15

EXPERIAN INFORMATION
SOLUTIONS, INC., et al.,

                               Defendants.


☐         Jury Verdict. This action came before the Court for a trial by jury. The issues have been
          tried and the jury has rendered its verdict

☒         Decision by Court. This action came before the Court for consideration.

        IT IS HEREBY ORDERED AND ADJUDGED that the plaintiff takes nothing and the
case is DISMISSED.


                                              Approved:   s/ William C. Griesbach
                                                          William C. Griesbach, Chief Judge
                                                          United States District Court
          Dated: July 3, 2019

                                                          STEPHEN C. DRIES
                                                          Clerk of Court

                                                          s/ Cheryl A. Veazie
                                                          (By) Deputy Clerk




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